                                                         Entered on Docket
                                                         June 15, 2017
                                                         EDWARD J. EMMONS, CLERK
                                                         U.S. BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA
 1   DAVID BURCHARD
     CHAPTER 13 TRUSTEE
 2   P.O. BOX 8059
     FOSTER CITY, CA 94404
 3   TELEPHONE (650) 345-7801
     TELEPHONE (707) 544-5500                        Signed: June 15, 2017
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                                                     ________________________________________
 6                                                   ALAN JAROSLOVSKY U.S. Bankruptcy Judge
                                     UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
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      In re:                                                                  Case No.: 17-1-0068AJ13
 9     MAURO and MANDY LOPEZ

10                                           Debtor(s)

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12                                   ORDER CONFIRMING CHAPTER 13 PLAN
13          After a hearing on June 14, 2017, and it appearing that the Chapter 13 Amended Plan in this
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     case meets the requirements of § 1325(a) of the Bankruptcy Code,

15      IT IS ORDERED that the Amended Plan dated June 6, 2017 is confirmed.
16      PROVIDED HOWEVER, that notwithstanding anything to the contrary in said plan:
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        1. Any provision of the plan purporting to discharge a debt is not approved. No debt subject to
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     exception from discharge pursuant to § 523 of the Bankruptcy Code shall be adjudicated to be
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     discharged or not discharged except in an adversary proceeding.
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        2. No lien on real property shall be removed, avoided, or extinguished, except by adversary
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     proceeding pursuant to FRBP 7001(2) or contested matter pursuant to FRBP 3012.
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        3. With the sole exception of the valuation of a claim secured by personal property, a proof of
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     claim shall supersede any plan provision purporting to limit or disallow a claim.
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       4.      Any incorporation into the plan of any guideline or general order, including, without limitation,
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     the Mortgage Modification Mediation Program, is not approved.
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       5.      Any provision of the plan purporting to call for postpetition mortgage payments at anything
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     other than the full amount due shall be deemed to be a proposal to make lesser payments which the
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     creditor may accept without prejudice to all of its legal rights.



     **END OF ORDER**
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 1                                   COURT SERVICE LIST
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